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              UNITED STATES BANKRUPTCY COURT
              DISTRICT OF NEW JERSEY
              Caption in Compliance with D.N.J. LBR 9004-1(b)
              Edmond M. George, Esquire
              OBERMAYER REBMANN MAXWELL & HIPPEL LLP
              1120 Route 73, Suite 420
              Mount Laurel, NJ 08054-5108
              (856) 795-3300
              Counsel to the Debtors

              In re:                                                         Case No. 19-31483-ABA

              EDWARD J. HOVATTER and KIMBERLY                                Chapter 11
              MACALUSO HOVATTER,
                                                                             Judge: Andrew B. Altenburg
                                             Debtors.


                CERTIFICATION OF MICHAEL LANGE IN SUPPORT OF APPLICATION FOR
                                     PROFESSIONAL FEES

                       I, Michael Lange, being of full age, hereby submit this certification in support of the

            application for professional fees of Lange Appraisal Consultants (the “Application”) (DI #126),

            and state as follows:

                       1.     On November 14, 2019 Edward J. Hovatter and Kimberly Macaluso Hovatter

            (collectively the “Debtors”) filed a voluntary petition for relief under Chapter 11 of Title 11,

            United States Code (the “Bankruptcy Code” or the “Code”) with this Court.

                       2.     I am a real estate appraiser trading as Lange Appraisal Consultants (“LAC”).

                       3.     On April 17, 2020, this court issued an order (DI #73) approving an application to

            employ LAC as the Debtors’ real estate appraiser to appraise the real property at 9 E. Aberdeen

            Road, Ocean City NJ 08226 (the “Property”).

                       4.     The approved terms of LAC’s compensation were a flat fee of $700.00.

                       5.     After the court approved LAC’s employment, I performed an appraisal of the

            Property and issued an appraisal report on behalf of LAC.


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                     6.      The compensation sought by the instant application is reasonable and consistent

            with LAC’s court-approved employment.

                     7.      I therefore request the application of Lange Appraisal Consultants for

            compensation be granted.



            I certify under penalty of perjury that the above information is true.




            Date:   30 October 2020                    ________________________
                                                       Michael Lange




            4812-7479-2912                                     2
